
499 So.2d 27 (1986)
A.H., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 86-872.
District Court of Appeal of Florida, Second District.
December 17, 1986.
*28 James Marion Moorman, Public Defender, Bartow, and Deborah K. Brueckheimer, Asst. Public Defender, Tampa, for appellant.
Jim Smith, Atty. Gen., Tallahassee, and Robert J. Krauss, Asst. Atty. Gen., Tampa, for appellee.
HALL, Judge.
A.H. appeals his adjudication of delinquency and the disposition ordered by the trial court. We affirm the adjudication but reverse the disposition and remand.
The state filed a petition for delinquency charging A.H. with robbery in violation of section 812.13(2)(c), Florida Statutes (1985). The trial court adjudicated A.H. delinquent and committed him to the custody of the Department of Health and Rehabilitative Services. At the commitment hearing the trial court stated that it was going to place A.H. at a facility that was not recommended by HRS. The commitment order contains no directions regarding the facility at which A.H. is to be placed.
The provisions of section 39.09(3)(e), Florida Statutes (1985) are mandatory. They require the trial court to rank in the commitment order the options for placement recommended by HRS in order of the court's preference. The court may not recommend its own options for placement. T.D. v. State, 486 So.2d 40 (Fla. 2d DCA 1986). On remand the trial court should rank in the commitment order the options presented by HRS.
Affirmed in part and remanded with directions consistent with this opinion.
DANAHY, C.J., and LEHAN, J., concur.
